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                                                                                      J-1led 1U/L/2ULU 1-461-
                                                                                              Virginia Pallar
                                                                                            Combination CIE
                                                                                       Presidio County, Tex
                                                                                            By Sarah Martin



                                               8024
                                    Cause No. - - - -

  GREGORY ROMEU                                §         IN THE DISTRICT COURT
  D/B/A DEVIL'S ADVOCATE                       §
  ARMORY                                       §
       Plaintiff                               §       394th
                                               §        - - JUDICIAL DISTRICT
  v.                                           §
                                               §
  CITY OF MARFA                                §
       Defendant                               §      PRESIDIO COUNTY, TEXAS

 PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF THIS COURT:

         NOW COMES Gregory Romeu d/b/a Devil's Advocate Armory, Plaintiff,

to file this petition against the City of Marfa, Defendant, for breach of contract.

         In February 2020, Plaintiff formed a contract with Defendant City of Marfa

to host a gun show in May 2020. Plaintiff paid Defendant for the rental of the

Marfa Activity Center to house the event. Plaintiff contracted with vendors to

attend and sell firearms at the gun show. Both Plaintiff and vendors expended

thousands. of dollars relying upon the contract. About a week before the event, the

City informed Romeu that he would not be allowed to use the activity center for

the event. By cancelling the gun show on such short notice, Marfa caused direct

economic damages to Romeu and additional damages to his vendors, some of

whom have assigned those damages to Romeu. Plaintiff seeks reliance damages,

lost profits, and fees. Defendant denies the existence of a contract.

Gregory Romeu v. City of Marfa - Original Petition and Request for Disclosure   EXHIBIT
                                                                                Page I

                                                                                      1
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                        I.      DISCOVERY CONTROL PLAN

 1.     Plaintiff intends to conduct discovery in this case under Level 3 pursuant to

Texas Rules of Civil Procedure 190.4.

                                 II.   RELIEF SOUGHT

2.      Plaintiff seeks monetary relief over $100,000 but not more than $250,000,

including damages of any kind, penalties, costs, expenses, pre-judgment interest,

and attorney fees pursuant to Texas Rules of Civil Procedure 47. The damages

sought are within the jurisdictional limits of the court.

                         III.     PARTIES AND SERVICE

3.      Plaintiff Gregory Romeu d/b/a Devil's Advocate Annory ("Romeu") is an

individual and resident of Presidio County, Texas, and may be contacted through

his attorneys of record, the undersigned.

4.      Defendant City of Marfa ("Marfa") is a general law municipality organized

under the laws and Constitution of Texas which may be served through the City of

Marfa Secretary, Chelsea Smith, 113 S Highland Avenue, Marfa, Texas 79843.

        IV.    JURISDICTION, VENUE, and WAIVER OF IMMUNITY

5.      This Court has jurisdiction under Section 24.007 of the Texas Gov't Code.

6.      Pursuant to Texas Civil Practice & Remedies Code § 15.035(a), venue is

proper in Presidio County because the dispute arises in whole or in part out of a

contract with a writing to perform an obligation in Presidio County, Texas.

Gregory Romeu v. City of Marfa - Original Petition and Request for Disclosure   Page2
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7.       As the parties must have formed a contract upon which this suit is based, the

City waived immunity under Section 271.152 of the Texas Local Gov't Code.

8.       Plaintiff's agreement includes the tetms considered essential in Texas to

form a contract. Defendant has waived any sovereign immunity to the claims and

causes of action asserted in this petition (both immunity from suit and from

liability) because Plaintiff and Defendant entered into a written contract.

                 V.    FACTUAL AND LEGAL BACKGROUND

9.       On February 14, 2020, Romeu and Marfa formed a contract ("Contract") in

which Romeu paid $550 to Marfa for use of the Marfa Activity Center ("MAC")

located at 105 N Mesa Street, Marfa, Texas 79843 on May 30-31.

10.      During the Contract formation, Minerva Lopez, Director of Tourism in

Marfa, acted with authority on behalf of Marfa. Lopez and Romeu were known to

each other from previous discussions and rental contracts, as Romeu had

previously conducted a gun show in Marfa in November 2019,

11.     After Romeu paid Marfa $550.00 to lease the MAC, Marfa gave Plaintiff a

receipt titled "City of Marfa Visitors Center No. 00154" ("Receipt") 1 signed by

Patrick Rivera. The Receipt states "Balance Due $0" and "MAC fees May 30-31."

12.     Rivera is the Assistant to the Director of Tourism in Marfa. In that capacity,

Rivera was an agent acting with authority on behalf of Defendant City of Marfa.

1 The   Receipt is attached as Exhibit C and incorporated by reference.

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13.      Rivera and Lopez are in the business of renting out spaces including but not

limited to the MAC on behalf of the City of Marfa.

14.     Marfa's agents clearly understood that Romeu planned on using the MAC to

host a gun show during which Romeu planned to profit by sale of space in the

MAC to gun vendors which sell goods for profit ("Gun Show"). As the parties

previously conducted a gun show in November of 2019; this process was known

and both parties knew what to expect.

15.     Romeu planned the Gun Show, expending funds on advertising and forming

sub-leases for tables at the Gun Show with vendors.

16.     About May 23, 2020, Minerva Lopez, the Director of Tourism in Marfa,

called Romeu and informed him that he was "$50 sh01i." As stated above, the

Receipt states that no balance remained to be paid.

17.     If more money were owed to Defendant to rent the MAC, an additional

payment or payments would have been mentioned on the Receipt. Neve1iheless,

Plaintiff drove directly to Lopez to remedy any potential last-mirmte problem.

18.     Upon Plaintiffs arrival that afternoon, Lopez corrected her error, but sent

Plaintiff to speak with a city administrative assistant. Plaintiff met with the

assistant, who introduced herself to Plaintiff while in the company of the chief of

police. The assistant informed Plaintiff that all public buildings were to be closed

for the next two months, which included the MAC, due to fear ofCOVID-19.

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19.      This was May 23, 2020. The Gun Show had been plam1ed since Plaintiffs

previous Gun Show in November 2019; the Contract had been formed in February.

20.      Marfa gave no notice of any cancelation until a week prior to the Gun Show

and Marfa's promised performance.

21.      At the time of cancellation, there were zero confirmed or reported

Coronavirus cases in Marfa.

22.      Romeu secured counsel, and two days later, on May 25, 2020, the

undersigned sent a demand letter ("Demand Letter")2 to Marfa through County

Judge Guevara, the Presidio County Attorney, Texas Attorney General, and the

Governor's Communication Department.

23.     Marfa's counsel responded to the Demand Letter on May 28, 2020,

response 3 (Response Letter), asserting that the Receipt in question represented "a

deposit" though the Receipt states "Balance Due $0".

                          VI.    CLAIM BACKGROUND

24.     Parties formed an enforceable contract. Whether a contract exists involves

both questions of fact-such as the intent of the parties-and questions of law-

such as whether the facts as found constitute a contract. Merritt-Campbell, Inc. v.

RxP Prods., Inc., 164 F.3d 957, 959 (5th Cir. 1999). The elements for breach of


2 The   Demand Letter is attached and incorporated by reference as Exhibit A.
3 The   Response Letter is attached and incorporated by reference as Exhibit B.

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contract are ( 1) a valid contract, (2) the plaintiffs performance or tendered

performance, (3) the defendant's failure to perform the contract, and (4) damages

as a result of the breach. Paragon Gen. Contractors, Inc. v. Larco Constr., Inc.,

227 S.W.3d 876, 882 (Tex. App.-Dallas 2007).

25.     Defendant promised the use of the MAC to Plaintiff for May 30-31, 2020.

Plaintiff completed his obligation of partial-performance when he provided a cash

consideration at the time of the Contract's formation.

26.     Defendant, through its agent, knew what it was undertaking at the time of

contract formation. Shin-Con Development v. LP. Invest., Ltd., 270 S.W.3d 759,

765 (Tex. App.-Dallas 2008).

27.     Defendant breached the contract by preventing Plaintiff from usmg the

MAC for the May 30-31, 2020 Gun Show.

28.     In Texas, the intent of the parties at the time of contract formation is

determinative. In construing a written contract, the primary concern of the court is

to ascertain the true intentions of the parties as expressed in the instrument. Reilly

v. Rangers Management, Inc., 727 S.W.2d 527, 529 (Tex. 1987); Coker v. Coker,

650 S.W.2d 391,393 (Tex.1983).

29.     All provisions in a contract must be considered with reference to the whole

instrument. Coker, 650 S.W.2d at 393. If the written instrument is so worded that it

can be given a certain defmite meaning or interpretation, then it is not ambiguous

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and the court will construe the contract as a matter of law. Coker, 650 S.W.2d at

393; Huggins, 765 S.W.2d at 543; Corriveau, 697 S.W.2d at 767. A court should

construe contracts from a utilitarian standpoint bearing in mind the particular

business activity sought to be served. Reilly, 727 S.W.2d at 530.

30.     Defendant therefore committed breach of contract on or about May 23,

2020, when it prevented Plaintiff from hosting, and his vendors from profiting at

the Gun Show.

31.     Receipts have been recognized and respected as contracts by the Texas

Supreme Court for over a century. Brackenridge v. Claridge, 44 S.W. 819, 821

(Tex. 1898). Though in the form of a receipt, this is a valid and binding contract,

expressing in writing the terms upon which the minds of the parties met. Id.

32.     The Contract fixed with certainty the material terms; both the time, "May

30-31" and the place, "MAC" of the performance Defendant promised, as required

by Texas law. Fischer v. CTMI, L.L.C., 479 S.W.3d 231, 236-237 (Tex. 2016).

33.     To ensure clarity: though Plaintiff gave written notice, written notice is not

required in suits against a municipality which arise out of breach of contract. Geo.

L. Simpson v. City ofLubbock, 17 S.W.2d 163 (Tex. Civ. App. 1928).

34.     That Defendant was the only party to sign the Contract does not lessen its

binding nature. It is not necessary that an agreement be signed by both parties.

Hearthshire Braeswood Plaza Ltd. Partnership v. Bill Kelly Co., 849 S.W.2d 380

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 (Tex. App.-Houston 1993). If only one party signs a written contract, the other

party may accept by acts, conduct, or acquiesce in the terms of the contract. Id.

35.     Opinion KP-0296         of Attorney General Paxton (the "Opinion" 1s

incorporated by reference as Exhibit D pursuant to Texas Rules of Civil Procedure

59), dated March 27, 2020, made clear that emergency orders do not stop gun

sales. The Opinion was provided by Plaintiff in his Demand Letter to the

Defendant (Exhibit A), and reads as follows:

        Subsections 229.00l(a) and 236.002(a) of the Local Government
        Code prohibit a municipality or county from adopting regulations
        related to the transfer, possession, or ownership of firearms, or
        commerce in firearms. These provisions apply to municipal and
        county regulation "notwithstanding any other law." Thus, while
        municipal and county officials possess general emergency authority to
        control the movement of persons and the occupancy of premises in a
        local disaster area under Government Code section 4 I 8.108, such
        orders may not regulate or restrict the sale of firearms.

Opinion KP-0296 of Attorney General Paxton.

36.     Furthermore, the Opinion illustrated the application and interpretation of the

words "related to" (emphasis added):

        Texas courts recognize that the phrase "relating to" is a "very broad
        term." RSR Corp. v. Siegmund, 309 S.W.3d 686, 701 (Tex. App.-
        Dallas 2010, no pet.); see also Kirby Highland Lakes Surgery Ctr.,
        L.L.P. v. Kirby, 183 S.W.3d 891, 898 (Tex. App.-Austin 2006, no
        pet.) (explaining that comis have constrned the phrase "related to"
        within the arbitration context to be "extremely broad" and "capable of
        expansive reach" (citations and quotation marks omitted)). In
        addition, when the Legislature uses the phrase "notwithstanding any
        other law," courts constrne that language as "an express, unambiguous

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        conflicts-of-law provision." Molinet v. Kimbrell, 356 S.W.3d 407,414
        (Tex. 2011). Thus, although section 418.108 of the Government Code
        may generally allow municipal and county officials to "control the
        movement of persons and the occupancy of premises" in a local
        disaster area, notwithstanding that general authority, emergency
        orders from local officials may not relate to the transfer,
        possession, ownership or sale of firearms.

Opinion KP-0296 of Attorney General Paxton

37.     Whatever action a city takes, even in times of emergency, such action shall

not relate to       the transfer,     possession,     ownership     or sale     of firearms

"notwithstanding any other law." Any such action is void.

38.     In addition to prohibiting county or municipal regulation in these areas, the

Legislature articulated the effect of a municipal or county regulation related to the

transfer, possession, ownership or sale of firearms. Any attempt to adopt or enforce

an "ordinance, resolution, rule, or policy ... , or an official action, including in any

legislative, police power, or proprietary capacity" taken in violation of subsection

229.00l(a) or 236.002(a) "is void." TEX. LOC. GOV'T CODE §§ 229.00l(a-1),

236.002(b). The statutes' unambiguous words disclose the Legislatm·e's intent: ifa

municipality or county adopts a regulation related to the transfer, possession,

ownership or sale of firearms, that regulation will be void to the extent that it is in

conflict with section 229.00l(a) or section 236.002(a). See Tex. Lottery Comm 'n v.

First State Bank ofDeQueen, 325 S.W.3d 628,639 (Tex. 2010).

39.     Thus, municipal and county officials may not use their emergency


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powers under section 418.108 of the Government Code to regulate or restrict

the sale of firearms.

40.     A municipal corporation, making a contract by its proper officers or agents,

is liable for a breach thereof in the same manner and to the same extent as

individual persons or private corporations. Horn v. Matagorda County et al. (Tex.

Com. App. 1919) 213 S.W. 934.

41.    All conditions precedent have occurred to prosecute this claim.

           VII.     CLAIM- BREACH OF CONTRACT (ROMEU)

42.    As a proximate result of Defendant's breach, Plaintiff suffered damages for

which Defendant is liable. The proper remedy for breach of contract is damages.

Aquaplex, Inc. v. Rancho La Valencia, Inc., 297 S.W.3d 768, 774 (Tex. 2009). The

purpose of damages is to put the non-breaching party in the same economic

position he would have been in had the contract not been breached. Tacon

Mechanical Contractors, Inc. v. Grant Sheet Metal, Inc., 889 S.W.2d 666 (Tex.

App.-Houston 1994).

43.    At common law, "actual damages" include both direct and consequential

damages. Arthur Andersen & Co. v. Perry Equip. Corp., 945 S.W.2d 812, 816

(Tex. 1997); Henry S. Miller Co. v. Bynum, 836 S.W.2d 160, 163 (Tex. 1992)

(Phillips, C.J., concurring).



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44.      One type of direct damages, the "benefit-of-the-bargain," utilizes an

expectancy theory and evaluates the difference between the value as represented

and the value received.

45.      "Consequential damages," also referred to as "special damages" at common

law, are those which may result naturally but not necessarily from the wrongful act

because they require the existence of some other fact beyond the relationship of the

parties. Arthur Andersen, 945 S.W.2d at 816 (consequential damages not

necessarily referable to the breach, but the loss must still have been reasonably

foreseeable or within the contemplation of the parties); Henry S. Miller, 836

S.W.2d at 163; Cherokee County Cogeneration Partners, L.P. v. Dynegy Mktg. &

Trade, 305 S.W.3d 309 313-14 (Tex. App. Houston 2009).

46.      Plaintiff seeks direct damages. Those damages which naturally follow from

the breach of a contract, when the defaulting party is without notice of any special

conditions that would increase the measure of liability, are "direct"; damages

which follow on account of knowledge of special conditions, imputed to the

defaulting party when the contract was made, and increasing the standard of

liability, are 'consequential'. Gregory v. Tyler Grain & Storage Co., 341 S.W.2d

221,223 (Tex. App. Texarkana 1960).

47.     Plaintiff is permitted to receive direct damages from a municipality arising .

out of a breach of contract. Texas Local Government Code Annotated§ 271.153.

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    48.      Plaintiff seeks the following damages which were proximately caused by

    Defendant's breach: $400.00 spent on radio airtime, advertisements purchased to

    promote the Gun Show, and $2,727.41 spent on items necessary for, and in

    furtherance of, making the Gun Show a success (including, but not limited to; local

    catering, use of hotels by Vendors, and ensuring the presence of sufficient labor to

    assist in setting up for the Gun Show on both days).

    49.      At this time, Plaintiffs individual expenses of$3,127.41, minus the value of

    what he received, $0, amounts to $3,127.41.

VIII.     CLAIM - BREACH OF CONTRACT (THIRD-PARTY BENEFICIARY)

    50.      Additionally, over ten separate Vendors 4 contracted with Plaintiff for the use

    of over thirty merchant tables. Plaintiff contracted with Defendant in order to earn

    a profit through these Vendors. Both parties contemplated this very purpose at

    formation, as shown, with ce1iainty, by the Contract's descriptive language.

    51.     The Vendors, therefore, were intended third-party beneficiaries of the

    Contract. A person not a party to a contract may enforce it if it appears that it was

    made for his benefit. Knox v. Ball, 144 Tex. 402, 409, 191 S.W.2d 17, 21 (1945).

    The Vendors, along with Plaintiff, were to be beneficiaries of the Contract.

    52.     That the Vendors contracted with Plaintiff for the specific purposes of

    selling goods arid profiting financially therefrom is established. Had this not been
    4
      At the time of the Demand Letter's composition, the number of Vendors was believed to be 60. This number
    reflected the potential number of available tables, however.


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contemplated and assented to, it is unlikely that either party would have formed the

Contract. Plaintiff is not in the business of occupying merchant tables himself, but

of providing spaces/or Vendors. Without Vendors, the Plaintiff could not make a

profit; without the Plaintiff, Vendors could not make a profit; without Defendant,

Plaintiff and his Vendors all lost money.

53.      The Vendors suffered damages as a result of Defendant's breach. By relying

upon Defendant's promise, both the Vendors and Plaintiff alike expended

thousands of dollars preparing for the Gun Show. Plaintiff and Vendors alike were

prevented from holding the Gun Show and are now out-of-pocket for thousands of

dollars without profits with which to replace those funds. Some of the Vendors

have assigned their claims to Plaintiff for the purposes of this case (Exhibit E) and

others may do so before final judgment is issued on the instant case. The total

amount of damages to Plaintiff and Vendors will be determined during discovery.

54.      The amount of damages sought by Plaintiff will be carefully measured

during discovery with respect to market values at the time of the breach and not by

the market gain as of the time of trial. General Universal Systems, Inc. v. Lee, 379

F.3d 131 (5th Cir. 2004).

55.     That the exact measure has not been plead herein does not discredit the

merits of Plaintiffs case. Under Texas law, a party is not required to plead his

measure of damages. Rowan Cos. v. Transco Exploration Co., 679 S.W.2d 660,

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665 (Tex. App.-Houston 1984). Texas Rules of Civil Procedure 47 requires only

a short and concise statement of a cause of action (i.e., breach of a specific

contract) and damage from such breach. Bowen v. Robinson, 227 S.W.3d 86, 94

(Tex. App.-Houston 2006).

                             IX.    ATTORNEY'S FEES

56.    To pursue his claim against Defendant, Plaintiff was required to commence

legal proceedings. Plaintiff is entitled to recover court costs and reasonable and

necessary attorney's fees pursuant to:

       a.     Texas Civil Practice and Remedies Code § 38, with additional

       contingent fees to be awarded should this suit be appealed.

       b.     Texas Civil Practice and Remedies Code § 37.009, with

       additional fees to be awarded should this suit be appealed.

                        X.     CLAIM-ATTORNEYFEES

57.    Plaintiff seeks attorney fees pursuant to Chapter 38 of the Texas Civil

Practices and Remedies Code.

                      XI.    REQUEST FOR DISCLOSURE

58.    Pursuant to Texas Rules of Civil Procedure § 194, Defendant is hereby

requested to disclose within fifty (50) days after the date of service of this request

the infonnation and material described in Texas Rules of Civil Procedure § 194.2.




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                                   XII.    PRAYER

59.    Plaintiff requests that Defendant be cited to appear and answer, and that this

Court, upon a final hearing or trial in this action, enter judgment in Plaintiffs favor

and against Defendant on all claims asserted in this action, including a request for

award of damages as follows:

       a.     Direct damages;

       b.     Pre- and post-judgment interest at the highest legal rate;

       c.     Attorney fees, including contingent amounts in the event of

       appellate proceedings;

       d.     Judgment for all costs of court;

       e.     All further relief to which Plaintiff may be entitled.

                              Respectfully submitted,




                              Warren Norred, Texas Bar No. 24045094
                              200 E. Abram, Suite 300; Arlington, TX 76010
                              817-478-1132 Office; 817-478-1133 Facsimile
                              Attorney for Plaintiff

EXHIBITS:
Exhibit A - Plaintiffs 25 May 2020 Demand Letter
Exhibit B - Defendant's 28 May 2020 Response Letter
Exhibit C - 14 February 2020 Contract
Exhibit D - Attorney General Opinion No. KP-0296
Exhibit E - Vendor Claim Assignments

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                                                                             Exhibit A


Norred Law, PLLC        li:"11 NORREDLJt                             www.norredlaw.com
515 E. Border
Arlington, TX 76010
                        ~                                               817-704-3984 o
                                                                        817-549-0161 f

May 25, 2020

Mayor Manny Baeza
mayor@cityofmarfa.com                          Presidio County Judge Guevara
Irma Salgado, Mayor Pro Tern                   countyjudge@co.presidio.tx.us
councilmembersalgado@cityofmarfa.com           Presidio County Attorney Rod Ponton
Buck Johnston                                  F: 432-729-3743
councilmemberjohnslon@cityofrnarfa.com
Rau.I Lara                                     Cc: Texas Attorney General Paxton
councilmemberlara@cityofrnarfa.com             disaster-counsel@oag.texas.gov
Natalie Melendez                               Cc: Texas Governor Greg Abbott
councilmemberrnelendez@cityofmarfa.com         Comm. Dep't., F: 512-463-1847
YoseffBen-Yehuda
cotmcilmemberbenyehuda@cityofmarfa.com


Re: Closure of Marfa Activity Center/Breach of Contract for Gun Show

To the Honorable Mayor Baeza,

My firm represents Gregory Romeu. The City of Marfa agreed to rent the city's
MAC Hall to Mr. Romeu and his business, Devil's Advocate Armmy, for a gun
show scheduled for next weekend, May 30 and 31.

I am copying County Judge Guevara and the County Attorney just so eve1yone can
be on the same page, along with the Texas Attorney General and the Governor's
Communication Department.

Generally speaking, the City of Marfa can certainly choose to keep city buildings
closed based on whatever reason it chooses, or no reason at all. But what it cannot
do is form an agreement to lease its building, take my client's money, and then a
week before the show make a decision to breach that contract based on zero cases
of COVID-19 and a Governor's executive orders concerning the COVID-19 virus
to stop a gun show after months of inaction.

When the City took Mr. Romeu's money for a gun show in February, it formed a
contract. Yes, it's true - the virus fear showed up around that time, and a lot of
people have shut down a lot of commercial activity based on that fear. And if the
City had contacted Mr. Romeu in Februa1y or March or even April, the parties
could have perhaps worked something out.


Demand Letter to City of Marfa, Texas - Gun Show Lease Matter                Page I of3
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                                                                                   Exhibit A


However, none of that happened. Mr. Romeu and his vendors expect to have use of
the MAC on May 30 and 31 of this year for a gun show because the City took his
money, and there is a history of previous gun shows for this purpose, and there
exists no good reason to breach the contract today.

I have attached a copy of the receipt as Exhibit 1 to this letter.

I am also attaching the opinion of Attorney General Paxton's March 27, 2020
Opinion KP-0296, which makes clear that emergency orders do not stop gun sales.
Attorney General's opinion includes this summary:



                                        SUMMARY

                       Subsections 229.00l(a) and 236.002(a) of the Local
              Gove1mnent Code prohibit a municipality or county from adopting
              regulations related to the lransfer, possession, or ownership of
              firearms, or commerce in firearms. These provisions apply to
              municipal and county regnlation "notwithstanding any other law."
              Thus, while municipal and cow1ty officials possess general
              emergency authority to control the movement of persons and the
              occupancy of premises in a local disaster area under Government
              Code section 418.108, such orders may not regulate or restrict the
              sale of firearms.


This opinion does not say that your city must rent to people wanting to have gun
shows, but what it does say is that your city is not going to be able to cite an
emergency order concerning the virus in a last-minute attempt to stop the existing
rental of building for a gun show based on a virus-oriented executive order.

Mr. Romeu has already expended thousands of dollars to prepare for this show,
including but not limited to local catering, use of hotels by vendors, radio ads,
ensuring sufficient help to run the operation. Each of the approximately 60 vendors
expects to make a profit ranging from $500 to $10,000 over the weekend. That's
profit, and not merely income. If we assume $4,000 profit, the Jost profit for Mr.
Romeu and his vendors will exceed $250,000.

If your City does not immediately relent, I will suggest an immediate filing of suit
in district comi and seek an immediate writ of mandamus or injunction requiring
the City to let my client use the MAC. If that happens, I will likely represent all the
vendors too, as they were intended third-paiiy beneficiaries of the lease.


Demand Letter to City of Marfa, Texas - Gun Show Lease Matter                      Page 2 of3
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                                                                              Exhibit A


The judicial system is not always predictable, and I cannot !mow if the district
court will immediately agree with us or not to order the City to perform by handing
over the MAC this c;oming weekend. No one can predict immediate victory. But
when my office challenged the City of Dallas regarding salon owner Shelley
Luther, the Supreme Court has agreed with us far; my analysis is that Marfa's case
is much weaker than that of Dallas. You have an actual contract with Mr. Romeu.

You should also recognize that the losses to your starving hotels will not be trivial.
Each one of your hotels and businesses is strnggling to stay alive, and each one of
them will be called as witnesses to validate the amount of money that they lost by
your decision. Some of them will agree with you, but many will not. By that time,
everyone will recognize the government oveITeaction to this yirns for what it was.
Your fear of the co\¥ffil~ tvtrMY~Jlffit~~-e'WfeWot paralysis or
petrification of all commercial activities to include breaches of contracts.

As I understand it, Presidio County currently has zero cases of COVID-19; you can
even operate at 50% capacity in your restaurants. The idea was to flatten the curve
so your medical facilities can handle the inevitable cases, not to flatten the
economy so already-struggling people have even more pressure to perform. That
decision can cost human lives as well. If this rental required a dozen city
employees to show up and work the show, it would be one thing. But Mr. Romeu
just needs the keys to the facility, and no city employee is necessary.

The decisions you are making are not always easy and your city council is not
deliberately trying to hurt people, but unless corrected, that is your direction. I urge
you to take another route.

A suit can be avoided by doing nothing more than performing the contract your
city made with Mr. Romeu, but he needs to know that he can depend on the City to
keep its word. I need to hear back from you no later than the close of business on
Tuesday, May 27, 2020, to resolve this. We need the keys to the MAC immediately.

Yours,

tJ~-~,.._/
Warren V. Norred, P.E., Texas Bar No. 24045094, wnorred@norredlaw.com
NORRED LAW, PLLC
515 E. Border St., Arlington, Texas 76010
Tel. (817) 704-3984, Fax. (817) 524-6686
Cell (817) 253-9999


Demand Letter to City of Maifa, Texas - Gun Show Lease Matter                Page 3 of3
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                                                KEN PAXTON
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                                                  March 27, 2020



The Honorable Dustin Burrows
Chair, House Ways and Means Committee
Texas House of Representatives
Post Office Box 2910
Austin, Texas 78768-2910

         Opinion No. KP-0296

         Re:      Whether sections 229.001 and 236.002 of the Local Government Code prohibit
                  municipal or county officials from restricting the sale of firearms through an
                  emergency declaration (RQ-0341-KP)

Dear Representative Burrows:

      You ask whether city or county officials may prohibit the sale of firearms through an
emergency declaration that excludes firearms retailers as essential businesses. 1

         Multiple provisions within the Government Code recognize governmental entities in Texas
may require additional authority during times of disaster to address emergency situations. See
TEX. Gov'r CODE §§ 418.001-.261. Relevant here, the Legislature authorized the presiding
officer of a governing body of a municipality or county to declare a local state of disaster. Id.
§ 418. l 08(a); see id § 418.004(6). 2 Once a local state of disaster has been declared, the "county
judge or the mayor of a municipality may control ingress to and egress from a disaster area under
the jurisdiction and authority of the county judge or mayor and control the movement of persons
and the occupancy of premises in that area." Id.§ 418.108(g). Pursuant to that authority, some
counties and municipalities in Texas, in recent days, declared local disasters due to the spread of
the disease COVID- I 9 and issued orders requiring all non-essential businesses to limit or cease
operations. 3 You indicate that some of these orders exclude firearms retailers as essential


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          See Letter from Honorable Dustin Burrows, Chair, House Comm. on Ways & Means, to Honorable Ken
Paxton, Tex. Att'y Gen. at I (Mar. 24, 2020), https://www2.texasattorneygeneral.gov/opinion/requests-for-opinion-
rqs ("Request Letter").
         2Your  question is limited to municipal or county authority to restrict the sale of firearms. Request Letter at
l. You do not ask about, and we do not address, any emergency authority the Governor has to limit or suspend the
sale of firearms during a disaster declaration. See TEX. Gov'T CODE § 418.019 ("The governor may suspend or limit
the sale, dispensing, or transportation of alcoholic beverages, firearms, explosives, and combustibles.").
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          See, e.g., Order of the Mayor of the City of Austin Steve Adler (Mar. 24, 2020), available at
http://www.mayoradler.com/wp-content/uploads/2020/03/0rder-202003 24-007-S tay-H ome-Work-Safe. pdf.
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businesses, thereby prohibiting or restricting those retailers from operating their businesses. See
Request Letter at 1.

        While the Legislature granted local officials certain emergency powers to address disaster
situations, that local authority is not without limitation. Relevant to your question, provisions in
the Local Government Code prohibit municipalities and counties from regulating, among other
things, the transfer, possession, ownership, or sale of firearms, "notwithstanding any other law."
See TEX. Loe. Gov'T CODE§§ 229.00l(a), 236.002(a). Section 229.001 of the Local Government
Code prohibits certain municipal regulation:

                   Notwithstanding any other law, ... a municipality may not adopt
                   regulations relating to:

                   (1) the transfer, possession, wearing, carrying, ownership, storage,
                   transportation, licensing, or registration of firearms, air guns,
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TEX. Loe. Gov'T CODE§ 229.00l(a) (emphasis added). Using almost identical language, section
236.002 of the Local Govermnent Code prohibits counties from adopting regulations related to the
same matters. Id. § 236.002(a). Texas courts recognize that the phrase "relating to" is a "very
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see also Kirby Highland Lakes Surgery Ctr., L.L.P. v. Kirby, 183 S.W.3d 891, 898 (Tex. App. -
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other law," courts construe that language as "an express, unainbiguous conflicts-of-law provision."
Moline/ v. Kimbrell, 356 S.W.3d 407, 414 (Tex. 2011). Thus, although section 418.108 of the
Government Code may generally allow municipal and county officials to "control the movement
of persons and the occupancy of premises" in a local disaster ai·ea, notwithstanding that general
authority, emergency orders from local officials may not relate to the transfer, possession,
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service for certain retail operations. However, federal regulations governing the purchase of firearms generally require
in-person transactions with licensed dealers. See, e.g., 27 C.F.R. § 478.124(a) (requiring a licensed dealer to record
all firearms transactions on a firearms transaction record, Fonn 4473); see also Bureau of Alcohol, Tobacco, Firearms
& Explosives, Form 4473, available at https://www.atf.gov/firearms/docs/4473-part-l-firearms-transaction-record-
over-counter-atf-form-53009/download (requiring form preparation "in original only at the licensed premises" of the
dealer). Thus, limiting retail sales of firearms to delivery or curbside servke will effectively prohibit firearms sales
from licensed dealers.
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         In addition to prohibiting county or municipal regulation in these areas, the Legislature
articulated the effect of a municipal or county regulation related to the transfer, possession,
ownership or sale of fireanns. Any attempt to adopt or enforce an "ordinance, resolution, rule, or
policy ... , or an official action, including in any legislative, police power, or proprietary capacity"
taken in violation of subsection 229.00l(a) or 236.002(a) "is void." TEX. Loe. GoV'T CODE
§§ 229.00l(a-l), 236.002(b). 5 The statutes' unambiguous words disclose the Legislature's intent:
if a municipality or county adopts a regulation related to the transfer, possession, ownership or sale
of firearms, that regulation will be void to the extent of a conflict with section 229.001 (a) or section
236.002(a). See Tex. Lottery Comm'n v. First State Bank of DeQueen, 325 S.W.3d 628, 639
(Tex. 2010). Thus, municipal and county officials may not use their emergency powers under
section 418.108 of the Government Code to regulate or restrict the sale of firearms.

        Section 229.001 of the Local Government Code recognizes municipal authority under other
law to "regulate the use of firearms, ... in the case of an insurrection, riot, or natural disaster if
the municipality finds the regulations necessary to protect public health and safety." TEX. Loe.
Gov'T CODE § 229.001(6)(4) (emphasis added). Thus, municipal governments possess limited
authority to regulate firearms during a disaster. Id.§ 229.00l(a). However, the action of using a
firearm is distinct from the transfer, ownership, or sale of the firearm, each of which can be
accomplished without actual use. Thus, municipal authority to regulate the use of firearms during
a disaster does not grant authority to also regulate the transfer, possession, ownership or sale of
firearms.




        5
          The Legislature authorized the Attorney General to "bring an action in the name of the state to obtain a
tempormy or permanent injunction" against a municipality or county adopting a regulation in violation of these
provisions. TEX. Loe. GOV'T CODE§§ 229.00l(f), 236.002(f).
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                                      SUMMARY

                        Subsections 229.00l(a) and 236.002(a) of the Local
               Government Code prohibit a municipality or county from adopting
               regulations related to the transfer, possession, or ownership of
               firearms, or commerce in fireaims. These provisions apply to
               municipal and county regulation "notwithstanding any other law."
               Thus, whlle municipal and county officials possess general
               emergency authority to control the movement of persons and the
               occupancy of premises in a local disaster area under Government
               Code section 418.108, such orders may not regulate or restrict the
               sale of fireai·ms.

                                            Very truly yours,




                                            KEN PAXTON
                                            Attorney General of Texas



JEFFREY C. MATEER
First Assistant Attorney General

RYAN L. BANGERT
Deputy Attorney General for Legal Counsel

VIRGINIA K. HOELSCHER
Chair, Opinion Committee
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                                                                                                           Exhibit B

                                     MESSER* FORT* McDONALD
                                                    NORTH TEXAS [ AUSTIN [ ABILENE


                                                       May 28, 2020


Vis Email (wnorred@norredlaw.com)
Warren V. Norred
Norred Law, PLLC
515 E Border Street
Arlington, Texas 76010

         RE:       Closure of Marfa Activity Center


Mr. Norred
Thankyou for giving me the opportunity to respond to your letter of May 25, 2020, directed
to the City of Marfa relating to the purported contract between the City and your client, Mr.
Gregory Romeu, for the use of the City's MAC Hall for a gun show, previously scheduled to be
held May 30 and 31. I hope to address the points raised in your letter so that litigation
between your client and the City can be avoided.
You recognize in your letter that "[g]enerally speaking, the City of Marfa can certainly choose
to keep city buildings closed based on whatever reason it chooses, or no reason at all." The
reason you allege that the City cannot close the MAC over the upcoming weekend is that it
allegedly is breaching a contract between the City and Mr. Romeu. However, under Texas law
it is clear that no binding contract ever existed between the City and Mr. Romeu, and, as a
result, no breach ofany agreement occurs by the City determining that the MAC must remain
closed. You should also know that all City buildings, including City hall, the MAC, library, and
the USO tourism center, have been closed since atleastMarch 20, 2020 due to the COVID 19
pandemic. The City has also determined that its swimming pool will not open for the summer
season. This was determined by the Mayor and then the City council.
It is established that a city may contract only with express authorization of the city council
by vote of that body reflected in the minutes. Cit;yof Bonham v. SW. Sanitation,Jnc., 871 S.W.2d
765, 767 (Tex. App.-Texarkana 1994, writ denied); S. Disposal, Inc. v. Cit;y of Blossom, 165
S.W.3d 887, 893 (Tex. App.-Texarkana 2005, no pet.). Statements or acts of city officers or
employees are ineffectual. City ofBonham, 871 S.W.2d at 767. Persons or entities contracting
with the government are charged by law with notice of tliis authority. City of Bonham, 871
S.W.2d at 767; City of Blossom, 165 S.W.3d at 893. Proof of the governing body's acts may
only be supplied by the authenticated minutes of the meeting at which the action occurred,
unless the minutes have been lost or destroyed. Cit;y of Bonham, 871 S.W.2d at 767; City of
Blossom, 165 S.W.3d at 893. Here, the Marfa City Council never considered the purported


 6371 Preston Road, Suite 200, Frisco, TX 75034   * 972.668.6400 * Toll Free: 1.055;668.6400 * www.txmunidpallaw.com
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contract, and there are no minutes of a Council meeting considering the purported contract
A plaintiff suing to establish a contract with a city has the burden to both plead and prove
that the minutes show the city council's act in authorizing a written contract. City ofBonham,
871 S.W.2d at 767; City of Blossom, 165 S.W.3d at 893.

As you know, a political subdivision of the State, such as the City of Marfa, possesses
immunity from suit Tooke v. City of Mexia, 197 S.W.3d 325, 332 (Tex. 2006). This immunity
from suit has not been waived regarding Mr. Romeu's purported contract with Marfa. The
circumstances surrounding Mr. Romeu's placing of a deposit for use of the MAC do not
constitute the creation of a contract which would be subject to the limited waiver of
immunity contained in Chapter 271, Subchapter I of the Local Government Code which deals
with city contracts. ln this regard, a contract subject to the waiver of immunity in Tex. Local
Gov't Code§ 271.152 is "a written contract stating the essential terms of the agreement for
providing goods or services to the local governmental entity that is properly executed on behalf
of the local governmental entity." Tex. Loe. Gov't Code Ann. § 271.151(2)(A) (emphasis
added). The purported contract here fails to satisfy these statutory requirements. It is
therefore not binding or enforceable with the City. Allow me to briefly explain.

First, it is uncontested that the City and Mr. Romeu did not enter into a written contract. As
a result, a suit on any alleged contract does not fall within the limited waiver of immunity
provided by§ 271.152. See City of Denton v. Rushing, 570 S.W.3d 708, 713 (Tex. 2019) ("For
governmental immunity to be waived under section 271.152 of the Local Government Code,
there must first be an enforceable, written contract."); La Joya Indep. Sch. Dist. v. Bio-Tech
Sols., Inc., 13-07-00484-CV, 2009 WL 1089459, at *4 (Tex. App.-Corpus Christi Apr. 23,
2009, no pet.).

Second, the purported contract fails to provide any goods or services to the City. "Had the
legislature intended to waive immunity from liability for every contract participated in by
the State, it could have done so." E. Houston Estate Apartments, L.L.C. v. City of Houston, 294
S.W.3d 723, 736 (Tex. App.-Houston [1st Dist.] 2009, no pet.). It did not. As a result, it has
been held that a contract that provides only an indirect, attenuated benefit to a city is
insufficient to constitute a waiver of immunity under§ 271.152. Berkman v. City of Keene,
311 S.W.3d 523, 527 (Tex. App.-Waco 2009, pet. denied) ("[T]he statute does not apply to
contracts in which the benefit that the local governmental entity would receive is an indirect,
attenuated one.") (quotations omitted). Because the purported contract did not provide a
good or service to the City, it would not fall within the limited waiver of immunity provided
by§ 271.152.

Third, for a contract to waive immunity from suit it must be "properly executed on behalf of
the local governmental entity." Tex. Local Gov't Code § 271.151(2). This is a statutory
requirement made hy the Texas Legislature. Just this past week, the Texas Supreme Court
addressed the issue. ln The El Paso Education Initiative, Inc. d/b/a Burnham Wood Charter
School v. Amex Properties, LLC, No.18-1167 (Tex. May 22, 2020) the Supreme Court held that
the use of the phrase "properly executed" in the statute led to the conclusion that "not all
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executed contracts qualify for Chapter 271's waiver." Id. at slip p. 13 (emphasis in opinion).
"[A] contract is properly executed when it is executed in accord with the statutes and
regulations prescribing that authority." Id. at slip p. 13 (emphasis in opinion). The Supreme
Court in Amex Properl'ies dealt with an open-enrollment charter school and looked to law
governing those entities to determine whether the contract at issue had been properly
executed on behalf of the school, ultimately deciding that because the contract had not been
reviewed and adopted by the school board, it was not properly executed. Id. at slip p. 14-16.
Similarly, a court would look to established law about how cities enter into contracts which,
as noted, provides that a city may contract only upon express authorization of the city council
by vote of that body reflected in the minutes. City of Bonham, 871 S.W.Zd at 767; see also W
Oilfields Supply Co. v. City ofAnahuac, 01-14-00468-CV, 2015 WL 1061130, at *4 (Tex. App.-
Houston [1st Dist.] Mar. 10, 2015, no pet.) (Noting that "[i]n the absence of a vote on the
essential pricing terms of the proposed contract, the city administrator lacked the authority
to sign it on behalf of the City" and finding that contract had not been properly executed on
behalf of the city where the city council did not approve the terms of the contract). In this
instance, even if there was an executed written contact, which there is not, the contract was
not reviewed by, acted upon, or approved by the Marfa City Council. Because no contract was
"properly executed on behalf of' the City, as required by statute, there is no contract and the
City is immune from suit.

Finally, and significantly, we are in the midst of a pandemic. The Texas Governor's executive
orders issued in response to the COVID-19 pandemic have preserved the right of local
governmental entities to make determinations regarding whether they should open their
own facilities. Executive Order GA-23 provides that a "Covered Service" which is subject to
reopening includes museums and libraries at 25% of the total listed occupancy but that "local
public museums and local public libraries may so operate only if permitted by the local
government[.]" See Executive Order GA-23 at p. 4. Executive Order GA-23 provides that
"Local government operations" may be opened "as determined by the local government." See
Executive Order GA-23 at p. 4. Executive Order GA-23 goes on to make the reopening of
aquariums, natural caverns, zoos and other facilities owned by local governments dependent
upon the local government permitting such operation. See Executive Order GA-23 at p. 5 (,r'lf
18(c), 20(a)). The Governor's Office recently confirmed on a conference call with city mayors
that the opening of public swimming pools owned by a local government was a decision for
the local government to make. Ultimately, the Governor's orders have provided for local
governments the right to determine when to open their facilities. The Governor's executive
orders issued under Chapter 418 of the Texas Government Code "have the force and effect
oflaw." Tex. Gov't Code§ 418.012.

With this authority, the City of Marfa has declared a local state of disaster pursuant to Texas
Government Code § 418.108, which state of disaster has been extended by Ordinance
through June 11, 2020. See Marfa City Ordinance #2020-08, -09. Further, the City has, by
ordinance, deemed that its public buildings are to remain in a state of phased reopening
through July 11, 2020, and that "[p]ublic events shall not be scheduled during this time at
the USO or the MAC Building." As a result of the pandemic, all City facilities including its own
City Hall have been closed and will continue in that state due to health concerns.
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It is my understanding that Mr. Romeu was told by the City as early as March that it was
unlikely that the gun event Would be able to proceed as schedttled, due to the pandemic. The
City does not believe that opening its convention center to the public is appropriate given
the ongoing pandemic, which has now claimed more than 100,000 lives in the United States
and more than 1,560 lives in Texas.

In summary, and respectfully, the City does not believe that a contractwas made, nor that its
immunity from suit has been waived. Due to the pandemic and based on the Governor's
Orders and the Ordinances enacted by the City Council, the City cannot open its facilities at
this time. I am asldng that the City return the deposit made.

Thank you for your attention to this matter. ·

                                                        Sincerely,


                                                            A"""" ~m-
                                                        wm •. Andrew Messer

WAM/tad
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                                                                                                             Exhibit D



                                                  KEN PAXTON



                                                    March 27, 2020



The Honorable Dustin Burrows
Chair, House Ways and Means Committee
Texas House of Representatives
Post Office Box 2910
Austin, Texas 78768-2910

             Opinion No. KP-0296

          Re:      Whether sections 229.001 and 236.002 of the Local Government Code prohibit
                   municipal or county officials from restricting the sale of firearms through an
                   emergency declaration (RQ-0341-KP)

Dear Representative Burrows:

      You ask whether city or county officials may prohibit the sale of firearms through an
emergency declaration that excludes firearms retailers as essential businesses. 1

         Multiple provisions within the Government Code recognize governmental entities in Texas
may require additional authority during times of disaster to address emergency situations. See
TEX. Gov'T CODE §§ 418.001~.261. Relevant here, the Legislature authorized the presiding
officer of a governing body of a municipality or county to declare a local state of disaster. Id.
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businesses, thereby prohibiting or restricting those retailers from operating their businesses. See
Request Letter at I.

        While the Legislature granted local officials certain emergency powers to address disaster
situations, that local authority is not without limitation. Relevant to your question, provisions in
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things, the transfer, possession, ownership, or sale of firearms, "notwithstanding any other law."
See TEX. Loe. Gov'T CODE§§ 229.00l(a), 236.002(a). Section 229.001 of the Local Government
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The Honorable Dustin Burrows - Page 3



         In addition to prohibiting county or municipal regulation in these areas, the Legislature
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Gov'T CODE § 229.00l(b)(4) (emphasis added). Thus, municipal governments possess limited
authority to regulate firearms during a disaster. Id.§ 229.00l(a). However, the action of using a
firearm is distinct from the transfer, ownership, or sale of the firearm, each of which can be
accomplished without actual use. Thus, municipal authority to regulate the use of firearms during
a disaster does not grant authority to also regulate the transfer, possession, ownership or sale of
firearms.




         5The Legislature authorized the Attorney General to "bring an action in the name of the state to obtain a

temporary or permanent injunction" against a municipality or county adopting a regulation in violation of these
provisions. TEX. Loe. GOV'TeODE §§ 229.001(1), 236.002(1).
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The Honorable Dustin Burrows - Page 4
                                                                                    Exhibit D



                                      SUMMARY

                        Subsections 229.00l(a) and 236.002(a) of the Local
               Government Code prohibit a municipality or county from adopting
               regulations related to the transfer, possession, or ownership of
               firearms, or commerce in firearms. These provisions apply to
               municipal and county regulation "notwithstanding any other law."
               Thus, while municipal and county officials possess general
               emergency authority to control the movement of persons and the
               occupancy of premises in a local disaster area under Government
               Code section 418.108, such orders may not regulate or restrict the
               sale of firearms.

                                            Very truly yours,




                                            KEN PAXTON
                                            Attorney General of Texas



JEFFREY C. MA TEER
First Assistant Attorney General

RY AN L. BANGERT
Deputy Attorney General for Legal Counsel

VIRGINIA K. HOELSCHER
Chair, Opinion Committee
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                                                                                          Exhibit E


                           Cause No. - - - - - - -
Gregory Romeu,                       §           IN THE DISTRICT COURT
d.b.a., Devil's Advocate Annory,     §
        Plaintiff                    §
V.                                   §           394th JUDICIAL DISTRICT
                                               §
City of Marfa,                                 §
      Defendant.                               §                PRESIDIO COUNTY, TEXAS

                                    SWORN DECLARATION

My name is      ·   f H)LI f     CHU                    , my date of birth is _/Qj~/ b3 ,
and I own a business known as: PH IL.IF Cl-Ii) /vi 61)5 l. EXPO
located at (<jo1/ N. !)r;.t.ATVR SLl/f)#:20 I t-As VEtrAS, NI/ 'i?q /ijg
I had planned on participating with the above-named business as a vendor for a gun show
scheduled at the Marfa Activities Center ("Gun Show"), in Marfa, Texas for May 30-31, 2020. I
have been involved in such gun shows for      _f_ years, and    expected to earn $ / 600' oO            in
profits (and not just income) after all costs, including but not limited to transportation, inventory,
advertising, and labor, and my estimate of profits is reasonable because Co.S:T OT RGtJ1/'Ai4       J
 f1'.B L5 5,   HonL. Ca.ST FIJ P. 3 _DAY.S , /JIE/1 lS Fa of)   BP.0/k@s,:. L!JNCii, bi (..)II 2R
M/lE//{,[i fo'R, SUV COMl!Jl, FRo/.11 LAS [/£t1AS, WE/!k,,'p✓ lb,P.At,arl SUV NE.PAIR
 CoC7. ANb f'Urt Cff PSf OF /AJVEJJ10RJ tiuN B061.-s 51( Fi)R tr(}/\! S!tiJW
         )



- - - - - - - - - - - - - - - - - - - - - - - - ~ . (Insert experience,)
                         ASSIGNMENT OF CLAIM FOR DAMAGES
Both for me and my business named above ("Assignor"), I irrevocably assign to Gregory Romeu
("Assignee"), and his successors and assigns, all and interest in all claims of Assignor against the
City of Marfa regarding all rights of the Assignor relating to the Gun Show ("Claim").
Assignee is hereby authorized to pursue damages for the Claim in law, settlement, or other
resolution, based on his discretion, The consideration provided from Romeu to Assignor for this
assignment is a portion of the funds collected after attorney fees and all costs are paid, per capita.
I declare under penalty of perjury that the proceeding statements are true and correct, and
based on my personal knowledge:

               ~ t%-                                                  >f:PtENbliR. f'. 'J..oJJJ
Assignor, indi 1dually and for the above-named business               Date


Gregory Romcu                                                         Date
Gregory Romeu v. City of Marfa, et al., Assignment                                       Page 1 of I
   Case 4:21-cv-00018-DC-DF Document 1-1 Filed 03/30/21 Page 34 of 37

                                                                                          Exhibit E


                            Cause No. - - - - - - -
 Gregory Romeu,                       §           IN THE DISTRICT COURT
 d.b.a., Devil's Advocate Armory,     §
         Plaintiff                    §
 V.                                   §           394th JUDICIAL DISTRICT
                                      §
 City of Marfa,                       §
         Defendant.                   §         PRESIDIO COUNTY, TEXAS

                                    SWORN DECLARATION

My name is Linda Farmer                                         my date of birth is 08 / ~ 1963,
and I own a business known as: L & G Collectibles
                              ---------------------
1ocated at 1967 NE. 55th Street Blanchard, Oklahoma 73010
I had planned on participating with the above-named business as a vendor for a gun show
scheduled at the Marfa Activities Center ("Gun Show"), in Marfa, Texas for May 30-31, 2020. I
have been involved in such gun shows for 1_112_ years, and expected to earn $2,400.00               rn
profits (and not just income) after all costs, including but not limited to transportation, inventory,
advertising, and labor, and my estimate of profits is reasonable because I sell not only
 highly sought for pocket knives and dersirable work knives, but also a wide variety of
antique military bayonets, caps, pins and uniforms some dated as far back as the Civil
War.

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. (Insert experience.)
                         ASSIGNMENT OF CLAIM FOR DAMAGES
Both for me and my business named above ("Assignor"), I irrevocably assign to Gregory Romeu
("Assignee"), and his successors and assigns, all and interest in all claims of Assignor against the
City of Marfa regarding all rights of the Assignor relating to the Gun Show ("Claim").
Assignee is hereby authorized to pursue damages for the Claim in law, settlement, or other
resolution, based on his discretion. The consideration provided from Romeu to Assignor for this
assignment is a pmiion of the funds collected after attorney fees and all costs are paid, per capita.
I declare under penalty of perjury that the proceeding statements are trne and correct, and
based on my personal knowledge:

Linda Farmer                                                          08/05/20
Assignor, individually and for the above-named business               Date


Gregory Romeu                                                        Date
Gregory Romeu v. City a/Marfa, et al., Assignment                                      · Page 1 of I
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(

                                                                                                   Exhibit E



                                Cause No. - - - - - - -
     Gregory Romeu,                       §           IN THE DISTRICT COURT
     d.b.a., Devil's Advocate Armory,     §
             Plaint[{/"                   §
     v.                                   §           394th JUDICIAL DISTRICT
                                                   §
     City of Marfa,                                §
            Defendant.                             §                PRESIDIO COUNTY, TEXAS

                                         SWORN DECLARATION

     My name is       Sn      IA.   \e.~ ~Cl\ bb         , my date of birth i s ~ ;;l.1; l 'l .S:"\
     and I own a business known as: r /'v lo ""' p.,.-t-ri. ~ ' ..r<. & e. r                0-. '
     locatcdat \o 8'3S µ, 1/n.,,, ,.....,,1 De. J"'-~ A..,_+,.,..,, u TOZ -, k°J.,11
                                   I
     I had planned on pa,ticipating with the above-named business as a vendor for a gun show
     scheduled at the Marfa Activities Center ("Gun Show'"), in Marfa, Texas for May 30-31, 2020. I
     have been involved in such gun shows for     _i?_ years, and expected lo earn $    S:/ cJ- 4,, 0~1
    profits (and not just income) after all costs, including but not limited to lransporlalion, inventory,
    advertising, and labor, and my estimate of profits is reasonable because     1--t', r     htutf /)
      (hr,,   f ,f'rr1..r   S:c.. l-eJ   Ir, ~,,,_,__,__ _ _ _ _ _ _ _ _ _ _ _ _ __




    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . (Insert experience.)
                             ASSIGNMENT OF CLAIM FOR DAMAG1'S
    Both for me and my business named above ("Assignor"), I in-evocably assign to Gregory Romeu
    ("Assignee"). and his successors and assigns, all and interest in all claims of Assignor against the
    City of Marfa regarding all rights of the Assignor relating lo the Gun Show ("Claim").
    Assignee is hereby authorized to pursue damages for the Claim in law, selllement, or· other
    resolution, based on his discretion. The consideration provided from Romcu lo Assignor for this
    assignment is a portion of the funds collected after attorney fees and all costs are paid, per capita.
    I declare under penalty of perjury that the proceeding statements arc true and correct, and


    "'~''" ' " ' . ~                                                             B,.Jc'I~ "O
    Assigrrur:-fi;di¥ually andfortheabove-named business                  Date


    Gregory Romeu                                                         Date

    Gregory Romeu v. City of Marfa, et al., Assignment                                            Page 1 of I
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                                                               Exhibit E



                     Marfa Show Brakedown




Tables                         $55 Each       $440.00




Travel                         .41 per mile   $780.00




Motel                                         $225.00




Meals                                         $125.00




Misc     Expenses                             $50.00




Loss of Sales                                 $4306.00




                Total Losses                  $5926.00
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